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1                       UNITED STATES DISTRICT COURT
2                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
3
     SATVINDER SINGH                          Case No.: 2:19-CV-4494 TJH (GJSx)
4
                   Plaintiff,
5
                                              STIPULATION OF DISMISSAL AND
6           vs.                               ORDER OF DISMISSAL    [JS-6]
7
     MICHAEL RICHARD POMPEO,
8    SECRETARY OF STATE, U.S.
9    DEPARTMENT OF STATE
10
                   Defendant.
11
                                  ORDER OF DISMISSAL
12

13          Pursuant to the stipulation of the parties under Federal Rule of Civil
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     Procedure 41(a)(1)(A)(ii), IT IS ORDERED THAT THIS ACTION BE, AND HEREBY IS,
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16   DISMISSED WITHOUT PREJUDICE     as to all claims, causes of action, and parties, with
17
     each party bearing that party’s own attorney’s fees and costs. The Clerk is directed
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     to close the file.
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20          JANUARY 11, 2021
     Dated:_______                    _______________________
21                                    TERRY J. HATTER JR.
                                      UNITED STATES DISTRICT JUDGE
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